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                              Exhibit
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                                            SAN DIEGO SHERIFFS DEPARTMENT
                                                     MEDICAL INTAKE QUESTIONS


         JIM:       400177828 Book #: 19707965        Book Dt/Tm: 02-05-2019 1534
         Name(L,F,M,S): WILSON, MICHAEL, RICHARD
         DOB: 12-13-1986 Age: 32           Des.: B    Sex: M SSN: XXX-XX-XXXX
         Created Dt/Tm: 02-05-2019 1550               Created By: TEKLEGIORGIS,KEBR



     Standard Medical Screening?
                          Have you been injured, hurt or in an accident in the last 72 hours?

                             Explain:
                          During the time of arrest were you treated in a hospital?

                    Name of hospital:
                          Were you given any medications at the hospital?

             Name of medication:
                          During the time of arrest were you tasered/restrained with any device other than
                          handcuffs?
                             Explain:
                          If tasered, were barbs removed in the hospital and which hospital?

                             Explain:
                          Do you have any major medical problems?

                             Explain:
                          Do you have any communicable diseases?

                             Explain:
                          Have you traveled outside of the United States within the last 30 days?

                          If so which countries have you visited and when did you return?

                             Explain
                          When was your last CXR?

                             Explain:
                          Do you have any psychiatric problems?

                             Explain:
                          Are you currently in the process of gender reassignment or do you consider
                          yourself to be a transgender person? (If Yes, Inform JPMU)
                Explain MTF / FTM

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    370M MED                                                                                         Printed By: MTORR2SH, TORRELIZA

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                                                   SAN DIEGO SHERIFFS DEPARTMENT
                                                              MEDICAL INTAKE QUESTIONS


         JIM:       400177828 Book #: 19707965                  Book Dt/Tm: 02-05-2019 1534
         Name(L,F,M,S): WILSON, MICHAEL, RICHARD
         DOB: 12-13-1986 Age: 32                  Des.: B         Sex: M SSN: XXX-XX-XXXX
         Created Dt/Tm: 02-05-2019 1550                           Created By: TEKLEGIORGIS,KEBR


             N            Are you a client of the Regional Center for developmentally disabled?

                     Which Center?
                          Are you feeling suicidal?

                              Explain:
                          Is the inmate/patient alert and oriented?

                              Explain:
                          Breathalyzer result?

                      Record result:
                          Vital Signs at First Stage?

                                      BP
                                    TPR
                             Describe
                          Fit for Booking?

                        Disposition:
     Combined Medical Screening?

             --------------------------------------------------------------------------------------------------------------------

             Y            Vital signs?

                                    BP: 96/65
                                   TPR: 97.8, 89, 18
                               Hgt/Wt: 70" 215 lb


             INFORMATION FROM SWORN (ARRESTING OFFICER)

             --------------------------------------------------------------------------------------------------------------------




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                                                   SAN DIEGO SHERIFFS DEPARTMENT
                                                              MEDICAL INTAKE QUESTIONS


         JIM:       400177828 Book #: 19707965                  Book Dt/Tm: 02-05-2019 1534
         Name(L,F,M,S): WILSON, MICHAEL, RICHARD
         DOB: 12-13-1986 Age: 32                  Des.: B         Sex: M SSN: XXX-XX-XXXX
         Created Dt/Tm: 02-05-2019 1550                           Created By: TEKLEGIORGIS,KEBR


             RQ           Arresting Officer's Information

                      AO's Agency SAN DIEGO SHERIFF OFFICE
                    AO's Last Name R.SHOTWELL
                    AO's Agency ID# 7796


             N            Did the arresting officer witness anything to believe the arrestee may be at risk
                          for a medical condition, intellectual disability, or suicide?
                         Description
             N            By your observation, does the arrestee appear to be under the influence of drugs
                          or alcohol?
                         Description
             N            Was the arrestee combative at the time of the arrest?

                         Description
             N            Is there additional information that you can provide to us to better care for this
                          arrestee and insure his/her health and safety?
                         Description
             --------------------------------------------------------------------------------------------------------------------

             OBSERVATION

             --------------------------------------------------------------------------------------------------------------------

             RQ           Describe individual's appearance (e.g. sweating, tremors, anxious, disheveled, no
                          acute distress, etc.)?
                         Description NAD

             RQ           Describe individual's state of consciousness (e.g. alert, responsive, lethargic,
                          etc.)
                         Description Alert

             Y            Is the arrestee oriented? To person, place, and time? (Need to have inmate
                          answer those three questions)
                              Explain:
             Y            Is the arrestee cooperative?

             Refusing to answer?
                         Description



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                                                  MEDICAL INTAKE QUESTIONS


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         Name(L,F,M,S): WILSON, MICHAEL, RICHARD
         DOB: 12-13-1986 Age: 32        Des.: B    Sex: M SSN: XXX-XX-XXXX
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             Y          Fit to complete medical screening process?

                        Disposition:




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         Name(L,F,M,S): WILSON, MICHAEL, RICHARD
         DOB: 12-13-1986 Age: 32           Des.: B    Sex: M SSN: XXX-XX-XXXX
         Created Dt/Tm:        02-05-2019 1550        Created By: TEKLEGIORGIS,KEBREAB


                     Are you pregnant?

                               LMP?
                               EDC?
                     Have you had a baby in the last 12 months?

                             Explain:
                     Have you had an abortion recently?

                                Date:
                     Pregnancy test obtained?

                          Test Result
     Standard Medical Screening?
                          Vital signs?

                                  BP:
                                TPR:
                           Describe:
                          Are you being seen by a physician?

                    Physicians name:
                        Psychiatrist:
                          Are you a client of the Regional Center for the developmentally disabled?

                       Which Center:
             Allergies
                          Medications?

                           Describe:
                          Food?

            List Food & Reaction




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         JIM:       400177828 Book #: 19707965     Book Dt/Tm: 02-05-2019 1534
         Name(L,F,M,S): WILSON, MICHAEL, RICHARD
         DOB: 12-13-1986 Age: 32        Des.: B    Sex: M SSN: XXX-XX-XXXX
         Created Dt/Tm:      02-05-2019 1550       Created By: TEKLEGIORGIS,KEBREAB


                        Bee sting?

                          Carry Kit:
                          Swelling:
                        Do you have health insurance?

                           Explain:
                        Do you use street drugs?

                              Type:
                           Amount:
                         Last Used:
                        Do you have problems when you stop using them?

                           Explain:
                        Do you use alcohol?

                              Type:
                           Amount:
                         Last Used:
                        Do you have problems when you stop using it?

                           Explain:
                        Do you have asthma?

                           Explain:
                        Hypertension?

                           Explain:
                        Infection?

                           Explain:
                        Diabetes?

                           Explain:




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         JIM:       400177828 Book #: 19707965       Book Dt/Tm: 02-05-2019 1534
         Name(L,F,M,S): WILSON, MICHAEL, RICHARD
         DOB: 12-13-1986 Age: 32           Des.: B   Sex: M SSN: XXX-XX-XXXX
         Created Dt/Tm:       02-05-2019 1550        Created By: TEKLEGIORGIS,KEBREAB


                         Open wound or skin breakage on feet or legs?

                          Describe:
               Assessment done?
                      Picture taken?
                         Heart problems?

                            Explain:
                         Orthopedic?

                            Explain:
                         Seizure?

                            Explain:
                         On renal dialysis?

              Name of Clinic, MD:
                         Do you have any other medical problems?

                            Explain:
                         Do you have any dental problems?

                            Explain:
                         Do you have TB?

                         Last x-ray:
                               2 Rx:
                             3+ Rx:
                         Hepatitis?

                          Last date:
                              Type:
                          Rx Name:




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         JIM:       400177828 Book #: 19707965    Book Dt/Tm: 02-05-2019 1534
         Name(L,F,M,S): WILSON, MICHAEL, RICHARD
         DOB: 12-13-1986 Age: 32        Des.: B   Sex: M SSN: XXX-XX-XXXX
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                        Venereal disease?

                                Type:
                         Last Date:
                         RX Name:
                        HIV tested?

                        HIV positive?

                         MD Name:
                             T-Cell:
                          Rx Name:
                        AIDS?

                         MD Name:
                             T-Cell:
                          Rx Name:
                        Scabies?

                           Explain:
                        Lice?

                           Explain:
                        Crabs?

                           Explain:
                        Rash on body?

                           Explain:
                        Open sores on private parts?

                           Explain:
                        Do you have any other communicable diseases?

                           Explain:
             Mental Status



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         JIM:       400177828 Book #: 19707965       Book Dt/Tm: 02-05-2019 1534
         Name(L,F,M,S): WILSON, MICHAEL, RICHARD
         DOB: 12-13-1986 Age: 32          Des.: B    Sex: M SSN: XXX-XX-XXXX
         Created Dt/Tm:      02-05-2019 1550         Created By: TEKLEGIORGIS,KEBREAB


                        Alert and oriented person?

                          Describe:
                        Alert and oriented place?

                          Describe:
                        Alert and oriented time?

                          Describe:
                        Alert and oriented date?

                          Describe:
             Level of Consciousness
                        Alert?

                          Describe:
                        Lethargic?

                          Describe:
                        Stuporous?

                          Describe:
                        Other?

                          Describe:
             Physical Appearance
                        Clean?

                        Malodorous?

                          Describe:
                        Malnourished?

                          Describe:
                        Alcohol breath?

                          Describe:

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         JIM:       400177828 Book #: 19707965        Book Dt/Tm: 02-05-2019 1534
         Name(L,F,M,S): WILSON, MICHAEL, RICHARD
         DOB: 12-13-1986 Age: 32            Des.: B   Sex: M SSN: XXX-XX-XXXX
         Created Dt/Tm:      02-05-2019 1550           Created By: TEKLEGIORGIS,KEBREAB


                        Disheveled?

                          Describe:
             Mobility
                        Ambulatory?

                           Explain:
                        Limitations?

                          Describe:
                        Prosthetics?

                          Describe:
                        Normal speech?

                          Describe:
                        Normal thought process?

                          Describe:
                        Cooperative behavior?

                          Describe:
                        Unusual affect / mood?

                          Describe:
                        Visible signs of illness?

                          Describe:
                        Sight limitation?

                          Describe:
                        Hearing limitation?

                          Describe:
                        Unusual skin color / temp. turgor?

                          Describe:

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         JIM:       400177828 Book #: 19707965                  Book Dt/Tm: 02-05-2019 1534
         Name(L,F,M,S): WILSON, MICHAEL, RICHARD
         DOB: 12-13-1986 Age: 32                  Des.: B         Sex: M SSN: XXX-XX-XXXX
         Created Dt/Tm:          02-05-2019 1550                  Created By: TEKLEGIORGIS,KEBREAB


                          Needle marks present?

                            Describe:
                          Loss of bladder / bowel function?

                            Describe:
                          SOB / persistent cough?

                            Describe:
                          Have you ever served in the United States Military?

                          Other

                            Describe:
                            Describe:
                            Describe:
                          Explain sick call process?

                              Explain:
                          Scheduling clinic / provider appointment?

                          Are you currently taking any medications?

             Record in Med Screen

     Combined Medical Screening?

             SUBSTANCE ABUSE INFORMATION FROM INMATE

             --------------------------------------------------------------------------------------------------------------------

             N            Prior to your arrest, did you swallow or hide any drugs in any body cavity?

                         Description
             N            Do you drink alcohol?

             Type and Last drink?
                         How often?
            For how many years?



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         JIM:        400177828 Book #: 19707965                 Book Dt/Tm: 02-05-2019 1534
         Name(L,F,M,S): WILSON, MICHAEL, RICHARD
         DOB: 12-13-1986 Age: 32                  Des.: B         Sex: M SSN: XXX-XX-XXXX
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                          Do you have medical complications when you stop drinking?

              Describe symptoms
                    Seizures/Shakes?
                     Hospitalization?
             N            Do you use drugs such as heroin, cocaine, meth etc.?

                    What do you use?
         How much do you use?
                     Last time used?
             RQ           What happens when you stop taking these drugs?

                         Description
             --------------------------------------------------------------------------------------------------------------------

             INMATE MEDICAL SCREENING QUESTIONS

             OBSERVATION

             --------------------------------------------------------------------------------------------------------------------

             N            Does the individual have issues with mobility (Cane, Wheelchair, Prosthetics,
                          Crutches, Splints)?
                         Description
             N            Does the individual have other limitations like hearing, visual, communication?

                         Description
             N            Does the individual have any noticeable rashes, infestations, wounds, or
                          discoloration of the skin?
                         Description
             N            Is the individual experiencing difficulty breathing or breathing rapidly (e.g.
                          persistent cough, hyperventilation, etc.)?
                         Description
             Y            Did the arrestee walk into the intake area without any assistance?

                         Description
             --------------------------------------------------------------------------------------------------------------------

             MEDICAL INFORMATION FROM INMATE

             --------------------------------------------------------------------------------------------------------------------

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         Name(L,F,M,S): WILSON, MICHAEL, RICHARD
         DOB: 12-13-1986 Age: 32           Des.: B    Sex: M SSN: XXX-XX-XXXX
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             Y            Do you currently have any medical conditions such as asthma, diabetes,
                          seizures, cancer, orthopedic issues, terminal illnesses, communicable diseases
                          Description CHF, ASTHMA & Cardiomyopathy

             N            Have you had recent illness with symptoms of chronic cough, coughing up
                          blood, lethargy, weakness, weight loss, loss of appetite, fever or night sweats?
                          Description
             N            Documented normal CXR in JIMS within the past 6 months?

                             Explain: needed

             N            Are you currently a dialysis patient?

                    Last time treated?
                        Clinic Name?
             N            Do you have any dental problems?

                          Description
             N            Do you have any allergies (e.g. food, medication, etc.)?

                      Type/Reaction?


             N            Are you currently taking any medications?

                          Description
                     Pharmacy used?
             N            In the past 30 days, have you had any recent hospitalizations or serious injuries?

                          Description
             N            Do you have any history of head trauma?

                            Describe:
             Y            Patient informed of adult immunization availability (Hep A, B, Tetanus, Seasonal
                          Flu, etc.)?
             Y            Patient informed of screening availability for STD's?




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         Name(L,F,M,S): WILSON, MICHAEL, RICHARD
         DOB: 12-13-1986 Age: 32         Des.: B   Sex: M SSN: XXX-XX-XXXX
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             N          Do you currently have a health provider?

                     Doctor's Name
                          Location
             Y          Do you have Medi-Cal?

                        Are you interested in information on Medi-Cal enrollment?




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                                                     PSYCHIATRIC QUESTIONS


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         Name(L,F,M,S): WILSON, MICHAEL, RICHARD
         DOB: 12-13-1986 Age: 32         Des.: B      Sex: M SSN: XXX-XX-XXXX
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     Standard Medical Screening?
                        Do you have any current psychiatric / mental health problems?

                           Explain:
                        Do you have any previous mental health history?

                           Explain:
                        Have you been a victim of sexual assault during a previous incarceration or in the
                        community?
              Want to see a MHC?
                        Do you know your psychiatrist / clinic name?

                           Explain:
                        Any visual hallucinations?

                           Explain:
                        Any auditory hallucinations?

                           Explain:
                        Any suicidal ideation?

                           Explain:
                        Any homicidal ideation?

                           Explain:
                        Any prior suicide attempts?

                           Explain:
                        Are you currently taking any psychiatric medications?



                        Scheduling clinic / provider appointment?

     Combined Medical Screening?

             GENDER IDENTITY/PREA


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                                                                 PSYCHIATRIC QUESTIONS


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         Name(L,F,M,S): WILSON, MICHAEL, RICHARD
         DOB: 12-13-1986 Age: 32                  Des.: B         Sex: M SSN: XXX-XX-XXXX
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             --------------------------------------------------------------------------------------------------------------------

             N            Do you identify yourself as transgender?

                       MTF or FTM?
                     Class Notified?
                          Are you in the process of gender reassignment therapy?

             N            Have you been a victim of a sexual assault either while incarcerated or in the
                          community?
               Schedule for MHC?
             --------------------------------------------------------------------------------------------------------------------

             PSYCHIATRIC INFORMATION FROM INMATE

             --------------------------------------------------------------------------------------------------------------------

             N            Are you a client of the Regional Center for developmentally disabled?

                     Which Center?
             Y            Have you ever been diagnosed with a mental illness (ex. Schizophrenia, Bipolar,
                          Depression, PTSD, etc.)?
                         Description bipolar schizophrenia

             N            Have you ever been hospitalized in a psychiatric hospital?

                               Where?
                                When?
             N            Do you ever hear voices or see things that are not there?

                         Description
             --------------------------------------------------------------------------------------------------------------------

             SUICIDE RISK INQUIRY

             --------------------------------------------------------------------------------------------------------------------

             N            Have you recently experienced a significant loss? (Relationship, Death of a family
                          member/close friend, job etc.)
                         Description
             Scheduled for MHC?



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         Name(L,F,M,S): WILSON, MICHAEL, RICHARD
         DOB: 12-13-1986 Age: 32                  Des.: B         Sex: M SSN: XXX-XX-XXXX
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             N            Has a family member or close friend ever attempted or committed suicide?

                         Description
             Scheduled for MHC?
             N            Do you feel there is nothing to look forward to in the immediate future? (Inmate
                          expressing helplessness and/or hopelessness)
                         Description
         Gatekeeper Assesmnt?
             --------------------------------------------------------------------------------------------------------------------

             COLUMBIA SUICIDE SEVERITY SCALE

             --------------------------------------------------------------------------------------------------------------------

             N            Have you wished you were dead or wished you could go to sleep and not wake
                          up? (Past Month)
                    Sched. for MHC?
             N            Have you had any actual thoughts of killing yourself? (Past Month)

                          Have you been thinking how you might do this?

                         Description
                          Have you had these thoughts and had some intention of acting on them?

                         Description
                          Have you started to work out or worked out the details of how to kill yourself?

                         Description
                        Refer to ISP
                          Do you intend to carry out this plan?

                         Description
             N            Have you ever done anything, started to do anything, or prepared to do anything
                          to end your life?
            Within past 3 months
                         Description
                      Refer to MHC
             Y            Consents/ROIs completed and signed (General consent, Sterilization,PREA if
                          applicable)?

    Facility: 965                                                                 Page 3 of 4                                                   Printed: 02-20-2019 1342
    166B MED                                                                                                                        Printed By: MTORR2SH, TORRELIZA

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                                        SAN DIEGO SHERIFFS DEPARTMENT
                                                  PSYCHIATRIC QUESTIONS


         JIM:       400177828 Book #: 19707965    Book Dt/Tm: 02-05-2019 1534
         Name(L,F,M,S): WILSON, MICHAEL, RICHARD
         DOB: 12-13-1986 Age: 32        Des.: B   Sex: M SSN: XXX-XX-XXXX
         Created Dt/Tm: 02-05-2019 1550           Created By: TEKLEGIORGIS,KEBREAB


             Y          Fit for Jail?

                        Disposition: NAPS/SCHEDULING




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    166B MED                                                                                Printed By: MTORR2SH, TORRELIZA

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                                     SAN DIEGO SHERIFFS DEPARTMENT
                                                            Medical Chart
   JIM: 400177828               Book#:   19707965               Name (L,M,F,S):   WILSON, MICHAEL, RICHARD


    Book Dt/Tm: 02-05-2019 1534
    DOB: 12-13-1986      Age: 32     Des.: B        Sex: M     SSN: XXX-XX-XXXX
    Fac: 965             Area:           HU:        Cell:       Bed:

     Health Service #:                         Health Status: UNKNOWN
   Medical Classification: NO


   Admin Entries
   Entry Date: 02-12-2019 2108           Entered By: JMONTESH, MONTECLAR
    Received signed ROI by I/P Wilson, Michael for Yujane Lampkin (sister), contact
    number 702-742-8026. Original in chart, copy in the red binder.




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                                 SAN DIEGO SHERIFFS DEPARTMENT
                                                    Medical Chart
   JIM: 400177828           Book#:   19707965           Name (L,M,F,S):   WILSON, MICHAEL, RICHARD


   Encounter Detail
    Type: Booking Intake             Reason: Tb Screening                  Date: 02-05-2019 1534
    Resource: Eusebio, Dennis                                              Cost:
         Notes:




      Objective
       Tests
            Test: X-RAY                                  Req'd by: ESNPX2SH        At: 02-05-2019 1534
        Reason: Required                                Taken by:                  At:
       Result:             At:                  Desc:

    Orders




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                                        SAN DIEGO SHERIFFS DEPARTMENT
                                                     Medical Chart
   JIM: 400177828               Book#:   19707965        Name (L,M,F,S):   WILSON, MICHAEL, RICHARD


   Encounter Detail
     Encounter Notes
      Entry Date: 02-06-2019 0234          Entered By: DEUSEBSH, EUSEBIO
      PATIENT NAME:      WILSON, MICHAEL RICHARD
      DATE OF BIRTH:        12/13/86
      BOOKING NUMBER:        19707965
      PHYSICIAN       Dr. O'Brien
      FACILITY:      SDCJ
      DATE OF EXAM     Feb 5, 2019 8:07:02 PM PST
      PROCEDURES      CR - CHEST - SD X-Ray
      HISTORY       CXR, FACILITY #1
      --------------------------------------------------------------------------------
      1 view chest x-ray.
      Comparison:
      None
      Findings:
      No consolidation or effusion.
      Mild cardiomegaly.       Left-sided pacer.
      Bones unremarkable


      Impression:
      1. Negative for active tuberculosis


      Electronically signed on Feb 6, 2019 12:55:22 AM PST by:


      Jason E. Grennan, MD


      Diplomate, American Board of Radiology



   Med Alerts




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                                      SAN DIEGO SHERIFFS DEPARTMENT
                                                            Medical Chart
   JIM: 400177828               Book#:      19707965            Name (L,M,F,S):    WILSON, MICHAEL, RICHARD


   Encounter Detail
    Type: Rnsc                              Reason: Nap                             Date: 02-05-2019 1552
    Resource: Teklegiorgis, Kebreab Sh9451                                          Cost: $0.00
         Notes: To eval CHF, Asthma, & Cardiomyopathy. Also he has history of bipolar schizophrenia.




      Objective
        Vitals
        Vitals Dt/Tm: 02-05-2019 1642 Temp (°F):       97.9 Pulse:    90 Respiration: 17
       Blood Pressure: 103/61      Wgt:        Hgt: 5´09" Provider: BAUTISTA , RIZALINA
                 SNP:
                Notes: 02 sat 99% on R.A.




     Instructions
       MEDICAL/PSYCH HOLD                                                             COMPLETE
       NO EMRF                                                                        COMPLETE
       NO FACILITY 8                                                                  COMPLETE

    Orders

     Encounter Notes
      Entry Date: 02-05-2019 1645             Entered By: RBAUT3SH, BAUTISTA
      S"    I have Asthma, I used albuterol inhaler,do you have a stronger one?,              I
      also have congestive heart failure and I take Lasix 40mg everyday I used Rite
      Aid for my pharmacy , I take invega for my schizophrenia, I get it telecare in
      linda vista
      O:    Seen in medical screening ,i/p is a&ox3,calm,cooperative,coherent,rep even
      & unlabored, lungs are clear to auscultation, skin warm well perfused, claims
      the above statement, o2 sat 99%           on R.A. ,    denies SI,HI,AH.VH
      A:    Alt in Health Maintenance
      P:    SNP initiated for Asthma         , MDSC and Psych SC      sched, ROI signed for Rite
      Aid Pharmacy and       Telecare for his psych meds, Advised i/p to notify staffs for
      any change in condition and voiced understanding. i/p given one albuterol
      inhaler supply, able to demonstrate how to use inhaler.

   Med Alerts


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                                      SAN DIEGO SHERIFFS DEPARTMENT
                                                        Medical Chart
   JIM: 400177828              Book#:    19707965             Name (L,M,F,S):    WILSON, MICHAEL, RICHARD


   Encounter Detail
    Type: Mdsc                            Reason: Court Order                      Date: 02-05-2019 1655
    Resource: Bautista, Rizalina Sh5808                                           Cost: $0.00
         Notes: Level 1, 2/5/19 Claims Hx of CHF , takes Lasix 40mg daily , Cardiomyopathy, with
                multiple meds, Asthma, ROI signed for Rite Aid. CRT Order Def has serious medical
                conditions that need to be seen. **CXR neg TB, with mild cardiomegaly, L sided pacer.



      Objective
        Vitals
        Vitals Dt/Tm: 02-06-2019 1032 Temp (°F): 97.7 Pulse: 101 Respiration: 17
       Blood Pressure: 116/74     Wgt: 195 Hgt: 5´09" Provider: WYCOCO , FREDERICK
                 SNP:
                Notes:




    Orders

     Encounter Notes
      Entry Date: 02-06-2019 1116          Entered By: FWYCOCSH, WYCOCO
      MDSC done, meds noted in sapphire, lab draw scheduled. Rite Aid request
      documents faxed (expedited), awaiting for the records.

      Entry Date: 02-06-2019 1108          Entered By: ALEONXNS, LEON
      MDSC
      S. This patient presents with no acute distress and has multiple meds form
      multiple medical conditions including asthma and cardiac problems.?
      O. NAD well oriented times three, Vitals normal O2 sat at 100
            HEENT wnl
            Neck wnl no briuts
            Lungs clear and no rales, no whezzes
      A. H/o Asthma and HTN
      P. from his stated meds he will be plced on
           Metoprolo 5omg BIB
           lasix 40mg qd
           The rest of his meds will habe to be done through stat rite aid document
           contunue with his inhaler
           Elecrrolytes in 2 weeks

   Med Alerts

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                                  SAN DIEGO SHERIFFS DEPARTMENT
                                                  Medical Chart
   JIM: 400177828            Book#:   19707965         Name (L,M,F,S):   WILSON, MICHAEL, RICHARD


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                                      SAN DIEGO SHERIFFS DEPARTMENT
                                                         Medical Chart
   JIM: 400177828               Book#:   19707965              Name (L,M,F,S):   WILSON, MICHAEL, RICHARD


   Encounter Detail
    Type: Psych Sc                         Reason: Chart Check                    Date: 02-06-2019 0853
    Resource: Ibanez, Marylene Sh9033                                             Cost: $0.00
         Notes: pls review medication list from Telecare Behavioral Health




      Objective




    Orders

      Vitals
      Vitals Dt/Tm: 02-06-2019 1712 Temp (°F):   .0 Pulse:      Respiration:
      Blood Pressure: 0/0       Wgt:    Hgt: 5´09" Provider: NESBIT , ARIANA
                SNP:
              Notes:



     Encounter Notes
      Entry Date: 02-07-2019 0043           Entered By: LDEGUZSH, DEGUZMAN
      CC by Dr Nesbit, orders noted, RTC x1-2 wks.

      Entry Date: 02-06-2019 1712           Entered By: ANESBINS, NESBIT
      PSYCH CHART CHECK


      Reviewed med list from Telecare: Prozac 40mg QHS, Invega Sustenna 156mg IM
      q4wks (next due 2/6/19=today), Melatonin 3mg QHS.


      - Will start these medications now
      - Please schedule PsychSC within 1-2wks

   Med Alerts




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                                     SAN DIEGO SHERIFFS DEPARTMENT
                                                      Medical Chart
   JIM: 400177828              Book#:    19707965          Name (L,M,F,S):   WILSON, MICHAEL, RICHARD


   Encounter Detail
    Type: Mdsc                            Reason: Chart Check                 Date: 02-06-2019 1312
    Resource: Wycoco, Frederick Sh5778                                        Cost: $0.00
         Notes: Please review records from Rite Aid




      Objective




    Orders

     Encounter Notes
      Entry Date: 02-06-2019 1324          Entered By: FWYCOCSH, WYCOCO
      MDCC done, meds noted in sapphire.

      Entry Date: 02-06-2019 1315          Entered By: ALEONXNS, LEON
      MDCC
      Rite aid pharmacy list reviewed and meds reconciled in Sapphire

   Med Alerts




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                                     SAN DIEGO SHERIFFS DEPARTMENT
                                                       Medical Chart
   JIM: 400177828              Book#:   19707965             Name (L,M,F,S):    WILSON, MICHAEL, RICHARD


   Encounter Detail
    Type: Psych Sc                        Reason: 01- Follow-up                  Date: 02-05-2019 1657
    Resource: Bautista, Rizalina Sh5808                                          Cost: $0.00
         Notes: Level 2 2/5/19 Hx of Bipolar, Schizophrenia, on Invega 156mg q 4 weeks, claims he is
                due for his shot tomorrow.
                ROI signed for Telecare Linda Vista



      Objective




    Orders

   Med Alerts




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                                       SAN DIEGO SHERIFFS DEPARTMENT
                                                          Medical Chart
   JIM: 400177828               Book#:    19707965              Name (L,M,F,S):     WILSON, MICHAEL, RICHARD


   Encounter Detail
    Type: Lab & Tx Sc                      Reason: 01- Follow-up                     Date: 02-07-2019 0051
    Resource: Deguzman, Larry Sh6564                                                 Cost:
         Notes: Invega Sustenna 156mg IM q4wks (next due 2/6/19=today)
                (when available) pls chart in Sapphire MAR. pls sched in 4 wks after the ist dose.




      Objective




    Orders

     Encounter Notes
      Entry Date: 02-10-2019 0931            Entered By: SMACANSH, MACANLALAY
      Invega 156 mg given on R deltoid, pt tolerated procedure.

   Med Alerts




   Facility: RELS                                               Page 1 of 1                                      Printed: 02-20-19 1343
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                                     SAN DIEGO SHERIFFS DEPARTMENT
                                                         Medical Chart
   JIM: 400177828             Book#:       19707965           Name (L,M,F,S):   WILSON, MICHAEL, RICHARD


   Encounter Detail
    Type: Rnsc                             Reason: Exam                          Date: 02-11-2019 0932
    Resource: Burns, Milissa Sh7098                                              Cost: $0.00
         Notes: phone call from mother




      Objective
        Vitals
        Vitals Dt/Tm: 02-11-2019 1034 Temp (°F):      98.2 Pulse: 129 Respiration: 22
       Blood Pressure: 120/79       Wgt:      Hgt: 5´09" Provider: MACANLALAY , SAMANTHA
                 SNP:
                Notes:




    Orders

     Encounter Notes
      Entry Date: 02-11-2019 1032            Entered By: SMACANSH, MACANLALAY
      S:"I can't breath when I lay down"
      O: AOX3 ambulatory, lungs CTA, O2 sat of 90-94 % @ RA.
      A: Altered health maintenance
      P: Scheduled for MDSC for further eval.

      Entry Date: 02-11-2019 0932            Entered By: MBURNSSH, BURNS
      received phone call from mother claims she got off the phone with her son (no
      ROI noted in binder) claims her son is in distress, hx of CHF and unable to
      breathe and not receiving medications. Usually gets admitted to hospital and
      wants to talk to the watch commander. Informed her I will send a nurse to =the
      floor to evaluate patient for need of emergent care

   Med Alerts




   Facility: RELS                                             Page 1 of 1                                  Printed: 02-20-19 1343
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                                                             Medical Chart
   JIM: 400177828               Book#:    19707965               Name (L,M,F,S):   WILSON, MICHAEL, RICHARD


   Encounter Detail
    Type: Mdsc                             Reason: Emergency                        Date: 02-11-2019 1030
    Resource: Macanlalay, Samantha Sh                                               Cost: $0.00
         Notes: PR 129-180
                C/O cough, difficulty breathing when lying
                O2 sat 90-94 % @ RA



      Objective




    Orders

     Encounter Notes
      Entry Date: 02-11-2019 1038           Entered By: MBURNSSH, BURNS
      noted, meds given as ordered, RTC PRN

      Entry Date: 02-11-2019 1031           Entered By: PFREEDNS, FREEDLAND
      pt co mild cough, denies cp/sob/edema.


      hx chf, states he feels well, denies being in chf


      lasix, robitussin now


      med fu prn

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                                                  Medical Chart
   JIM: 400177828          Book#:   19707965            Name (L,M,F,S):   WILSON, MICHAEL, RICHARD


   Encounter Detail
    Type: Psychologist               Reason: Add Hold                      Date: 02-11-2019 1422
    Resource:                                                              Cost: $0.00
         Notes:




      Objective




     Instructions
       OP STEP DOWN UNIT                                                     COMPLETE

    Orders

   Med Alerts




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                                                  Medical Chart
   JIM: 400177828            Book#:   19707965           Name (L,M,F,S):   WILSON, MICHAEL, RICHARD


   Encounter Detail
    Type: Rnsc                        Reason: Add Hold                      Date: 02-11-2019 2055
    Resource: Echon, Carina Sh                                              Cost: $0.00
         Notes:




      Objective




    Orders

     Encounter Notes
      Entry Date: 02-11-2019 2055       Entered By: CECHONSH, ECHON
      patient's sister Yujane Lampkin called informing desk RN that she was just done
      talking to her brother and noted that he is in distress/short of breath,patient
      ststed that he was given Lasix earlier and helped a little bit but now he is
      agoain short of breathe.Patient's sister stated that his brother has hx of Left
      Ventricle heart failure congenital in nature,housing Deputy instructed to bring
      patient down to clinic for eval

   Med Alerts




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                                                    Medical Chart
   JIM: 400177828              Book#:    19707965       Name (L,M,F,S):   WILSON, MICHAEL, RICHARD


   Encounter Detail
    Type: Rnsc                           Reason: Exam                      Date: 02-11-2019 2248
    Resource: Germono, Macy Sh5482                                         Cost: $0.00
         Notes:




      Diagnosis
     Asthma

      Objective
        Vitals
       Vitals Dt/Tm: 02-11-2019 2248 Temp (°F): 97.8 Pulse: 104 Respiration: 17
       Blood Pressure: 122/77    Wgt:    Hgt: 5´09" Provider: GERMONO , MACY
                    SNP:
                Notes: o2sat 97- 99%RA




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                                   SAN DIEGO SHERIFFS DEPARTMENT
                                                     Medical Chart
   JIM: 400177828             Book#:     19707965         Name (L,M,F,S):    WILSON, MICHAEL, RICHARD


   Encounter Detail
      Plan
      Provider: SNP , ESTD JOSHUA           Plan Dt/Tm: 02-11-2019 2250 Completed By: GERMONO , MACY
      Completed Dt/Tm: 02-11-2019 2250 Patient Education: Y         Phone Order Status:
      SNP: ASTHMA: STAGES OF RESPIRATORY DISTRESS

       Entry Date:                         Entered By: ESNPX2SH, SNP
       Per SNP ASTHMA: STAGES OF RESPIRATORY DISTRESS.       3.    Moderate Respiratory
       Distress:
       a. This I/P will have expiratory and possibly inspiratory wheezing. Obtain and
       document a peak flow before and after treatment. (Normal adult peak flow is 400
       to 800).
       b. Mix Ventolin (Albuterol) 0.5% 1ml and one ampule Atrovent 0.02% with 3cc
       Normal Saline administer via nebulizer over 5-15 minutes.
           i. If patient does not improve after 1st nebulizer treatment then contact
       the on-site or on-call MD.
          ii. If patient is no longer wheezing or complaining of shortness of breath
       after his/her treatment and/or peak flow value has increased then give:
                Xopenex (levalbuterol)    inhaler 2 puffs QID PRN x 30 days.
        iii. If I/P shows improvement (peak flow value has increased) but patient
       continues to wheeze or complain of shortness of breath and the heart rate is
       less than 130 then:
           * Repeat Nebulizer treatment in 20 minutes.
           * If patient does not improve, contact on-site or on call Physician for
       direction and/or disposition.
       c. Schedule I/P for next available sick call within 24 hours..

      Provider: SNP , ESTD JOSHUA           Plan Dt/Tm: 02-11-2019 2250 Completed By: GERMONO , MACY
      Completed Dt/Tm: 02-11-2019 2250 Patient Education: Y         Phone Order Status:
      SNP: ASTHMA: STAGES OF RESPIRATORY DISTRESS

       Entry Date:                         Entered By: ESNPX2SH, SNP
       Per SNP ASTHMA: STAGES OF RESPIRATORY DISTRESS.         Treatment Plan: (All patients
       treated for wheezing shall be refered to MD sick call for follow up).




    Orders




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                                                       Medical Chart
   JIM: 400177828               Book#:   19707965          Name (L,M,F,S):   WILSON, MICHAEL, RICHARD


   Encounter Detail
     Encounter Notes
      Entry Date: 02-11-2019 2250          Entered By: MGERM2SH, GERMONO
      clinic
      s: c/o sob.     hx chf.
      o: aox3.      in mod distress.     lung sounds + upper respiratory, inspiratory
      wheezing. no use of accessory muscles.        o2 sat 97% to 99% ra. +cough. patient
      would catch his breath whenever he            talks, no cyanosis noted.
      a: ineffective airway clearance
      p: snp asthma: nebulizer treatment initiated.        pt reported relief after.
      patient with kop inhaler, instructed on how to use properly.
            got a verbal order of robitussin 10ml bid x3 days from np gatan, first dose
      given.
            pt advised to notify staff at onset of further wheezing/sob; verbalized
      understanding.
            pt left clinic in stable condition, ambulating independxently with steady
      gait, speech is clear and spontaneous.
            scheduled for mdsc f/u.



   Med Alerts




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                                         SAN DIEGO SHERIFFS DEPARTMENT
                                                          Medical Chart
   JIM: 400177828               Book#:    19707965              Name (L,M,F,S):    WILSON, MICHAEL, RICHARD


   Encounter Detail
    Type: Nurse Practitioner Sick Call     Reason: Add Hold                          Date: 02-08-2019 2142
    Resource: Germono, Macy Sh5482                                                   Cost: $0.00
         Notes: level 1: 2/11 f/u. c/o sob, seen by md yesterday. snp asthma intiated, nebulizer tx done.
                Per J-21, " I see the dr about my med, I haven't received any." "cough that won't go away"
                per mother hx of CHF & having trouble breathing. MUST SEE.



      Objective




    Orders

     Encounter Notes
      Entry Date: 02-12-2019 2009           Entered By: MGERM2SH, GERMONO
      noted, med on sapphire.




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   433M MED                                                                                        Printed By: MTORR2SH, TORRELIZA

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                                                  Medical Chart
   JIM: 400177828            Book#:   19707965         Name (L,M,F,S):   WILSON, MICHAEL, RICHARD


   Encounter Detail
    Encounter Notes
      Entry Date: 02-12-2019 1822       Entered By: VGATANNS , GATAN
      NPSC - 'level 1: 2/11 f/u. c/o sob, seen by md yesterday. snp asthma intiated,
      nebulizer tx done.
      Per J-21, " I see the dr about my med, I haven't received any." "cough that
      won't go away"
      per mother hx of CHF & having trouble breathing. MUST SEE."


      32yo seen at clinic last night, here for re-assessment. asymptomatic. claims
      mild constipation. denies nv ha sob


      a/o conversant nad
      ncat perrl
      chest: ctab, s1s2
      abd: soft nttp bs x4
      ext: mae x4, no pedal edema
      neuro: grossly intact, gait steady


      sapphire med chk


      A/P
      a. I/P w/ hx: CHF, stable. claims mild constipation
      -colace as ordered
      -advise lifestyle mod
      -rtc prn



   Med Alerts




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                                      SAN DIEGO SHERIFFS DEPARTMENT
                                                        Medical Chart
   JIM: 400177828               Book#:   19707965             Name (L,M,F,S):    WILSON, MICHAEL, RICHARD


   Encounter Detail
    Type: Mdsc                            Reason: Emergency                       Date: 02-14-2019 1052
    Resource: Johnson, Casey                                                      Cost: $0.00
         Notes: Medical received pc from deputy that ER services needed on 6th floor for mandown.




      Objective




    Orders

     Encounter Notes
      Entry Date: 02-14-2019 1115          Entered By: MIBANESH, IBANEZ
      Noted.

      Entry Date: 02-14-2019 1102          Entered By: PFREEDNS, FREEDLAND
      This MD responded to "man down, cpr in progress".            Many people on scene in a
      crowded fashion.        CPR was taking place on a male outside of his cell.         911 had
      been called already.       bag valve was functioning with good aeration and cpr w
      defibrillator was ongoing.         Monitor appears w rhythm, but pulse checks were
      negative for pulse through out.        EMS arrived very shortly thereafter,
      interosseous lines attempted, IVF and epinephrine were given without return of
      pulse.        Pt was transported to ER w cpr in progress.


      Physicial exam was diffocult as this was a very active area,              he was on the
      floor, cpr on going, but there was no active bleeding noted and there was
      vomitus from the mouth and floor,


      VIA recollection this male had a severe congenital heart defect and severe
      cardiomyopathy for many years.

   Med Alerts




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                                   SAN DIEGO SHERIFFS DEPARTMENT
                                                     Medical Chart
   JIM: 400177828            Book#:      19707965        Name (L,M,F,S):   WILSON, MICHAEL, RICHARD


   Encounter Detail
    Type: Rnsc                           Reason: Emergency                  Date: 02-14-2019 1255
    Resource: Evangelista, Joji Sh6562                                      Cost: $0.00
         Notes:




      Objective




    Orders




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                                    SAN DIEGO SHERIFFS DEPARTMENT
                                                  Medical Chart
   JIM: 400177828            Book#:   19707965         Name (L,M,F,S):    WILSON, MICHAEL, RICHARD


   Encounter Detail
     Encounter Notes
      Entry Date: 02-14-2019 1255       Entered By: JEVANGSH , EVANGELISTA
      Mandown Assessment


      Date: 02/14/2019     Time Medical informed: approx 08:19      Arrived at Scene:
      approx 08:24-08:25


      Scene is Safe: Yes
      Number of Patients: 1


      Responder: Scene Manager; RN 9033, 6355, 0770, 7001, Dr. P. Freedland, Psych
      Technician Conley


           Team Leader; RN 6562
           Members; RN 9033, 6355, 0770, 7001, Dr. P. Freedland, Psych Technician
      Conley


      Spinal Alignment maintained: Yes


      Patient Observed/Presentation: Patient lying on the floor in supine position,
      unresponsive to verbal and tactile stimuli. Patient moved immediately outside
      the cell to continue CPR.


      Mechanism of Injury /CC: Unknown


      Injury/Signs of Trauma: Patient lying on the floor in supine position,
      unresponsive to verbal and tactile stimuli.


      Signs & Symptoms: Patient lying on the floor in supine position, unresponsive
      to verbal and tactile stimuli. No pulse, no rise and fall of chest, not
      breathing.


      Treatment: 08:18 Deputy 3073 notified Psych Technician Conley to assess
      patient. 08:19 6th floor tower deputy notified Medical staff 08:20 Psych
      Technician Conley administered Narcan nasal spray x1, CPR initiated by Psych
      Technician Conley and deputies #3073 and 3545. 08:22 CCC notified to activate
      911 08:24 Additional medical staff with Dr. P. Freedland arrived at the scene
      and he took charge of the code.


           Oxygen: Yes


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                                         SAN DIEGO SHERIFFS DEPARTMENT
                                                             Medical Chart
   JIM: 400177828                   Book#:   19707965            Name (L,M,F,S):     WILSON, MICHAEL, RICHARD


   Encounter Detail
    Encounter Notes
                      RN 9033 placed Ambu-bag @ 15L/min.


           AED: Yes
                      RN 6562 placed AED


           CPR: Yes
                      Psych Technician Conley, Deputies #3073 and #3545


           IVF: No



      Primary Survey:


      Airway Patent; Yes



      Breathing: Equal/bilateral; No
                       No rise and fall of chest


      Circulation: Pulses, Equal/bilateral; Yes



                      Skin:
                                cold and clammy skin on upper extremities per Psych
      Technician Conley


      Disability: Orientation; unconscious and unresponsive
                      Pupils:
                                no observation made
                      Motor Function:
                                unresponsive


      Expose: No abnormalities or injuries noted.


      Secondary Survey:


      Vital Signs:


      BP:     n/a     HR:     n/a      RR:   n/a      T:   n/a   O2 sat:       n/a   Blood Glucose:


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                                      SAN DIEGO SHERIFFS DEPARTMENT
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   JIM: 400177828               Book#:     19707965       Name (L,M,F,S):   WILSON, MICHAEL, RICHARD


   Encounter Detail
    Encounter Notes
      129


      Head:         Face warm to touch, no evidence of bleeding


      Neck:         no obvious deformity


      Chest:        not assessed


      Abdomen:         not assessed


      Extremities:        cold and clammy skin on upper extremities


      Notes:        Approximately 08:26 paramedics arrived and assumed care.


      Disposition:        Patient sent to ER @0854 and CPR in progress.



   Med Alerts




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                                       SAN DIEGO SHERIFFS DEPARTMENT
                                                      Medical Chart
   JIM: 400177828             Book#:    19707965           Name (L,M,F,S):   WILSON, MICHAEL, RICHARD


   Encounter Detail
    Type: Psych Sc                       Reason: 01- Follow-up                Date: 02-06-2019 1716
    Resource: Nesbit, Ariana Liberty                                          Cost:
         Notes: 2/6: 1-2wks




      Objective




    Orders

   Med Alerts




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